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Remit

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

SHREVEPORT DIVISION
UNITED STATES OF AMERICA )
)
VS ) DOCKET NO. 5:10CR00287-01
)
LETITIA SCOTT )

Total Offense Level: 15
Criminal History Category: II
Zone: D

Range: 21 - 27 Months

JUDGMENT UPON REMAND

The Court adopts the factual findings of the Probation Office as contained in the Presentence Report
and the Addendum to include a three point reduction for Acceptance of Responsibility.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of this Court that the defendant,
LETITIA SCOTT, is hereby committed to the custody of the Bureau of Prisons for a term of
twenty-seven (27) months as to Count Nine. This sentence was selected after consideration of the

defendant’s personal history, characteristics, prior criminal record, and the provisions of 18 U.S.C.
§3553(a).

Due to the confinement sentence, a fine is not ordered.

Upon release from imprisonment, the defendant, LETITIA SCOTT, shall be placed on supervised
release for a term of one (1) year as to Count Nine. All the standard conditions of this Court are
applicable.

Within seventy-two (72) hours of release from the custody of the Bureau of Prisons, you shall report,
in person, to the U.S. Probation Office in the district to which you are released.

While on supervised release, you shall not commit another federal, state, or local crime, and shall
comply with the standard conditions adopted by the Court. You shall not possess a firearm or other
destructive device while on supervised release.

The following special conditions of supervised release are ordered:

1. The defendant shall be subject to financial disclosure throughout the period
of supervised release, and shall provide U.S. Probation will all requested
financial documentation. The defendant shall report all household income to
U.S. Probation as requested.

2. Restitution in the amount of $4,821 is ordered payable to the Internal
Revenue Service. The defendant shall make monthly payments at a rate not
less than 15% of the defendant’s gross monthly income, to be paid to the
District Clerk of Court for disbursal to the victim in this case.
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Form for Suggested Sentence

Based on the defendant’s financial condition, the Court finds the defendant does not have the ability
to pay interest or penalties. Accordingly, the Court will waive the interest and penalty requirement
in this case.

The Court orders that any federal income tax refund payable to the defendant from the Internal
Revenue Service will be turned over to the Clerk of Court and applied toward any outstanding
balance with regard to the outstanding financial obligations ordered by the Court.

The defendant shall notify the U.S. Attorney for this district within 30 days of any change of mailing

or residence address that occurs while any portion of the financial obligation ordered by the Court
remains outstanding.

The defendant is ordered to pay $100 to the Crime Victim Fund, to be paid immediately to the U.S.
Clerk of Court.

The defendant is notified of the right to appeal. Ifa Notice of Appeal is filed under 18 U.S.C. §3742,
a Review of Sentence, the Clerk is directed to transmit the Presentence Report, under seal, to the
Court of Appeals.

The remaining counts are dismissed.

Nut CW 12/18/12

Donald E. Walter, United States District Judge Date
